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                IN T H E UNITED STATES D I S T R I C T COURT
              F O R T H E NORTHERN D I S T R I C T O F G E O R G I A
                            NEWNAN DIVISION

    WHITEHEAD,
TOMMY FIELDS,

      PLAINTIFFS,

V.                                                   CIVIL ACTION FILE
                                                     NUMBER          -TCB
TAC, INC.,

      DEFENDANT.


      O R D E R APPROVING S E T T L E M E N T AND STIPULATION OF
           JUDGMENT DISMISSING CASE W I T H P R E J U D I C E

      This matter is before the Court upon the Parties, Joint Motion for Approval

of Settlement and Stipulation of Judgment Dismissing Case, With Prejudice. The

Court has reviewed the Settlement Agreement and the Stipulation of Judgment

Dismissing Case, with Prejudice. The Court now fmds the settlement reached in

this matter represents a fair and equitable resolution of disputed claims under the

Fair Labor Standards Act, as amended 29 U.S.C. § 201, et seq.

      IT IS THEREFORE ORDERED that the Settlement Agreement is approved,

that judgment is entered dismissing this case, with prejudice, and that the parties

are to bear their own attomey fees and costs.



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Dated:
                                                  Timothy C. Batten, Sr.,
                                         Judge, U.S. District Court




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